 Fill in this information to identify the case:

 Debtor name            Fizz & Bubble, LLC

 United States Bankruptcy Court for the:                       DISTRICT OF OREGON

 Case number (if known)               19-34092-tmb11
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $           946,909.07

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $           946,909.07


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $       11,668,990.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $           310,140.99

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$        2,040,327.79


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $         14,019,458.78




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
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                                                          Case 19-34092-tmb11                                       Doc 80                Filed 12/04/19
 Fill in this information to identify the case:

 Debtor name         Fizz & Bubble, LLC

 United States Bankruptcy Court for the:            DISTRICT OF OREGON

 Case number (if known)         19-34092-tmb11
                                                                                                                                       Check if this is an
                                                                                                                                       amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                      12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

        No. Go to Part 2.
         Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                       debtor's interest

 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                            number


           3.1.     Wells Fargo Bank -(as of 11/6/19)                       Checking                        2860                                    $48,000.00




           3.2.     Chase (as of 11/6/19)                                   Checking                        9939                                       $140.72



 4.        Other cash equivalents (Identify all)

 5.        Total of Part 1.                                                                                                                     $48,140.72
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.


 Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.

 11.       Accounts receivable


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                               page 1
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                                                Case 19-34092-tmb11                 Doc 80      Filed 12/04/19
 Debtor         Fizz & Bubble, LLC                                                                    Case number (If known) 19-34092-tmb11
                Name


           11a. 90 days old or less:                            481,036.12      -                                     0.00 = ....               $481,036.12
                                              face amount                               doubtful or uncollectible accounts




 12.       Total of Part 3.                                                                                                                 $481,036.12
           Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:        Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.


 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.

           General description                        Date of the last              Net book value of          Valuation method used   Current value of
                                                      physical inventory            debtor's interest          for current value       debtor's interest
                                                                                    (Where available)

 19.       Raw materials
           Inventory - Raw
           Materials                                  11/20/19                              $100,000.00        cash                             $100,000.00



 20.       Work in progress
           Inventory - Work in
           Progress                                   11/20/19                                $80,000.00       Cash                              $80,000.00



 21.       Finished goods, including goods held for resale
           Inventory - Finished
           goods                                      11/20/19                              $120,000.00        Cash                             $120,000.00



 22.       Other inventory or supplies

 23.       Total of Part 5.                                                                                                                 $300,000.00
           Add lines 19 through 22. Copy the total to line 84.

 24.       Is any of the property listed in Part 5 perishable?
               No
               Yes

 25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
               No
               Yes. Book value                                       Valuation method                               Current Value

 26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
               No
               Yes

 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                          page 2
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                                                Case 19-34092-tmb11                       Doc 80         Filed 12/04/19
 Debtor         Fizz & Bubble, LLC                                                            Case number (If known) 19-34092-tmb11
                Name



        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.

            General description                                               Net book value of       Valuation method used   Current value of
                                                                              debtor's interest       for current value       debtor's interest
                                                                              (Where available)

 39.        Office furniture
            Office Furnishings - See attached Exhibit 1                                     $0.00     Comparable sale                    $67,158.19



 40.        Office fixtures

 41.        Office equipment, including all computer equipment and
            communication systems equipment and software
            Office electronics, computers, printers &
            software - See attached Exhibit 2                                               $0.00     Purchase Price                     $47,756.08


            Equipment - See attached Exhibit 3                                              $0.00     Comparable sale                      $2,817.96



 42.        Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
            books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
            collections; other collections, memorabilia, or collectibles

 43.        Total of Part 7.                                                                                                          $117,732.23
            Add lines 39 through 42. Copy the total to line 86.

 44.        Is a depreciation schedule available for any of the property listed in Part 7?
                No
               Yes

 45.        Has any of the property listed in Part 7 been appraised by a professional within the last year?
               No
               Yes

 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.


 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.


 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                  page 3
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                                                Case 19-34092-tmb11                 Doc 80        Filed 12/04/19
 Debtor         Fizz & Bubble, LLC                                                            Case number (If known) 19-34092-tmb11
                Name



        No. Go to Part 11.
        Yes Fill in the information below.

            General description                                               Net book value of      Valuation method used   Current value of
                                                                              debtor's interest      for current value       debtor's interest
                                                                              (Where available)

 60.        Patents, copyrights, trademarks, and trade secrets
            Trademark - Fizz & Bubble                                                       $0.00    Cash                                        $0.00


            Trademark - Chill Beauty                                                        $0.00    Cash                                        $0.00



 61.        Internet domain names and websites
            www.fizzandbubble.com                                                           $0.00    Cash                                        $0.00


            www.chillbeauty.com                                                             $0.00    Cash                                        $0.00



 62.        Licenses, franchises, and royalties

 63.        Customer lists, mailing lists, or other compilations
            Customer List                                                                   $0.00    Cash                                        $0.00


            Market data bases                                                               $0.00    Cash                                        $0.00



 64.        Other intangibles, or intellectual property

 65.        Goodwill
            Goodwill                                                                        $0.00    Cash                                        $0.00



 66.        Total of Part 10.                                                                                                                 $0.00
            Add lines 60 through 65. Copy the total to line 89.

 67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
               No
               Yes

 68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
               No
               Yes

 69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
               No
               Yes

 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                  page 4
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                                                Case 19-34092-tmb11                 Doc 80        Filed 12/04/19
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                Name

                                                                                                                            Current value of
                                                                                                                            debtor's interest


 71.       Notes receivable
           Description (include name of obligor)

 72.       Tax refunds and unused net operating losses (NOLs)
           Description (for example, federal, state, local)

 73.       Interests in insurance policies or annuities
           Liberty Mutual Insurance - Commercial Auto Insurance
           Acct #9460                                                                                                                           $0.00



           Health Net of Oregon - Health Insurance - Acct #49OA                                                                                 $0.00



           Superior Vision - Vision Insurance #9501                                                                                             $0.00



           LifeMap - Dental Insurance Acct #7961                                                                                                $0.00



 74.       Causes of action against third parties (whether or not a lawsuit
           has been filed)

           Star Funding                                                                                                                   Unknown
           Nature of claim                     Breach of Contract Claim
           Amount requested                                        $0.00



           Net.Finance LLC, Mark Garrison and Nancy J. Kinney                                                                             Unknown
           Nature of claim        Negligence/Theft
           Amount requested                          $0.00



           NOWCFO                                                                                                                         Unknown
           Nature of claim                     Negligence/Breach of Contract
           Amount requested                                       $0.00



 75.       Other contingent and unliquidated claims or causes of action of
           every nature, including counterclaims of the debtor and rights to
           set off claims

 76.       Trusts, equitable or future interests in property

 77.       Other property of any kind not already listed Examples: Season tickets,
           country club membership

 78.       Total of Part 11.                                                                                                                 $0.00
           Add lines 71 through 77. Copy the total to line 90.

 79.       Has any of the property listed in Part 11 been appraised by a professional within the last year?
               No
               Yes


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                 page 5
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 Debtor          Fizz & Bubble, LLC                                                                                  Case number (If known) 19-34092-tmb11
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                            $48,140.72

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                   $481,036.12

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                             $300,000.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                        $117,732.23

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                               $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                            $946,909.07           + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $946,909.07




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                          page 6
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                                                    Case 19-34092-tmb11                               Doc 80             Filed 12/04/19
Fizz & Bubble, LLC                                                     SCHEDULE A/B
Case No. 19-34092-tmb11                                                QUESTION #39
                                                                         Exhibit 1



                                                      Office Furnishings
QTY    Brand           Model         Equipment Desc.                                                           Unit Value    Total Value
   6   Cosco           N/A           Cosco 6ft Folding Table - Black                                           $     46.49    $    278.94
  12   Ergo Genesis            757   Ergo Genesis BodyBilt Midback Task Chair                                  $ 999.00       $ 11,988.00
  15   Herman Miller   Ethospace     Tu W-pull small 2 drawer Grey Rolling Filing Cabinet/Pedistal             $ 300.00       $ 4,500.00
  15   Herman Miller   Ethospace     Tu W-pull Large 2 drawer Grey Rolling Filing Cabinet/Pedistal             $ 340.00       $ 5,100.00
  17   Herman Miller   Ethospace     Large Cubical - Window Wall, L-shape + Extension                          $ 1,000.00     $ 17,000.00
   1   HON             800 Series    HON 800 Series Five-Drawer Lateral File                                   $ 899.99       $    899.99
   1   Honeywell            812901   Honeywell Fire & Waterproof Safe Digital Lock .7 cu ft                    $ 139.99       $    139.99
   1   Igloo           N/A           Igloo 3.2 cu ft Mini Fridge & Freezer                                     $ 169.99       $    169.99
   5   Ikea            Micke         Ikea Micke 3 Drawer File Cabinet                                          $     59.99    $    299.95
   1   Ikea            N/A           Grey Sofa                                                                 $ 599.00       $    599.00
   8   Ikea            Linnmon       59x30 Gloss White Table Top with Legs                                     $     59.99    $    479.92
   1   Ikea            Linnmon       78"x24" Brown Table Top with Legs                                         $     67.99    $     67.99
   1   Ikea            Kallax        8-Cube White Storage Unit                                                 $     69.99    $     69.99
   2   Ikea            Vittsjo       4 tier glass shelf unit                                                   $     79.99    $    159.98
   1   Ikea            N/A           4 Seat White Leather Sectional                                            $ 1,399.00     $ 1,399.00
   5   Ikea            Lack          Wall Shelf                                                                $     59.99    $    299.95
   1   Ikea            Vittsjo       Ikea Vittsjo 2 tier Shelf                                                 $     59.99    $     59.99
   1   Ikea            Bekant        Ikea Bekant Conference Table                                              $ 529.00       $    529.00
   4   Ikea            IDOLF         Black Chair                                                               $     69.00    $    276.00
   2   Ikea            IDOLF         White Chair                                                               $     69.00    $    138.00
   1   Ikea            Hektar        Floor Lamo                                                                $     54.99    $     54.99
   1   Ikea            Bjursta       Black Round Table                                                         $ 229.00       $    229.00
   1   Ikea            Lerhamn       Black Table                                                               $     99.00    $     99.00
   1   Mainstays       N/A           6 Cube Storage Unit                                                       $     29.99    $     29.99
   3   N/A             N/A           White 2 Drawer wide File Cabinet                                          $ 149.99       $    449.97
   1   N/A             N/A           Black Mesh Back Support Office Chair                                      $ 199.99       $    199.99
   2   N/A             N/A           White Leather Futon                                                       $ 299.99       $    599.98
   1   N/A             N/A           Brown Rolling Wide 2-Drawer File Cabinet                                  $ 299.99       $    299.99
   1   N/A             N/A           3 Seat White Leather Sectional Couch                                      $ 600.00       $    600.00
   1   Orbit           N/A           Orbit Table 24" Round - White Top                                         $ 160.00       $    160.00
   2   Pottery Barn    Aztec         AZTEC PEDESTAL DINING TABLE, 40"                                          $ 799.00       $ 1,598.00
   1   Pottery Barn    N/A           12 Person Dark Wood Dining Table                                          $ 1,000.00     $ 1,000.00
   1   Pottery Barn    N/A           White 12 Person Dining Table                                              $ 400.00       $    400.00
  26   Realspace       Winsley       Realspace Modern Mid-Back Office Chair, White/Silver                      $     89.99    $ 2,339.74
   2   Realspace       Magellan      Realspace Magellan 59"W L-Shaped Desk, Espresso                           $ 319.99       $    639.98
   2   Sofa Maina      N/A           White Designer Coffee Table                                               $ 149.99       $    299.98
   3   Sofa Maina      Nemo          Modern Nemo Futon                                                         $ 209.99       $    629.97
   1   Sofa Maina      N/A           Black Designer Coffee Table                                               $ 149.99       $    149.99
   2   Sofa Mania      Maywood       Black Maywood Modern Tulip Chair                                          $ 199.00       $    398.00
   1   Sofa Mania      Maywood       White Maywood Modern Tulip Chair                                          $ 199.00       $    199.00
   1   Sofia Mania     N/A           Plush White Leather Chair                                                 $ 299.99       $    299.99
   2   SteelCase       Tower         Grey Steel SteelCase Tower Wardrobe locker unit                           $ 1,000.00     $ 2,000.00
   1   Uline           H-617         Magnetic White Board                                                      $     79.00    $     79.00
  14   Uline           H-7119        48"x24"x72" Storage Shelf                                                 $ 180.00       $ 2,520.00
   4   Uline           H-7728        5'x3' Whiteboard                                                          $ 128.00       $    512.00
   1   Uline           H-1840        6'x4' Whiteboard                                                          $ 175.00       $    175.00
   3   Uline           H-7829        Single Pedestal Steel Desk                                                $ 520.00       $ 1,560.00
   1   Uline           H-2489        16 Person Locker                                                          $ 658.00       $    658.00
   3   Uline           H-3639        18 Person Locker                                                          $ 553.00       $ 1,659.00
   2   uline           h-2757        8'x4' Whiteboard                                                          $ 235.00       $    470.00
   1   Varidesk              49836   Standup Desk                                                              $ 395.00       $    395.00
   2   z gallerie      N/A           Designer White Gloss w/chrome Coffee Table                                $ 199.00       $    398.00
   1   z gallerie      N/A           Gloss White & Chrome Designer Desk 60x30                                  $ 399.00       $    399.00
   1   z gallerie      N/A           Gloss White & Chrome Designer Desk 48x24                                  $ 299.99       $    299.99
   1   z gallerie      N/A           Gloss White & Chrome Designer End Table 48x24                             $ 199.99       $    199.99
   1   z gallerie      N/A           Gloss White & Chrome Designer 3 Drawer File Cabinet                       $ 399.99       $    399.99
   2   z gallerie      N/A           White Leather / Chrome Designer Chairs                                    $ 149.99       $    299.98
   1   Keter           N/A           Keter 74"x35"x18" Freestanding Utility Cabinet                            $ 175.00       $    175.00
                                                                                                      Total:                  $ 67,158.19


Exhibit 1
Page 1 of 1
                                          Case 19-34092-tmb11                      Doc 80            Filed 12/04/19
Fizz & Bubble, LLC                                                 SCHEDULE A/B
Case No. 19-34092-tmb11                                            QUESTION #41
                                                                     Exhibit 2


                                                            Office Electronics
QTY    Brand         Model               Equipment Desc.                                                             Unit Value       Total Value
   2   Acer          XC-704              Acer Aspire XC-704G Desktop                                                 $       279.99    $          559.98
   1   Acer          AZ3-715-ACKi5       Acer Aspire Z3-715 All in One Desktop                                       $     1,079.99    $        1,079.99
   1   AOC           I2279VWHE           21" AOC Monitor                                                             $        99.00    $           99.00
   6   AOC           I2779               AOC 27in Led Monitor                                                        $       219.99    $        1,319.94
   1   Apple         PRO                 Apple - MacBook Pro - 15" Display with Touch Bar - Intel Core i7            $     2,399.99    $        2,399.99
   1   Apple         PRO 1TB             Apple - MacBook Pro - 15" Display with Touch Bar - Intel Core i7            $     2,799.99    $        2,799.99
   1   Apple         Macbook Pro         2012 Macbook Pro 13"                                                        $       350.00    $          350.00
   1   Asus          Q505UA              Asus Laptop - i5                                                            $       699.99    $          699.99
   1   Asus          N/A                 Asus Laptop - i7                                                            $       899.99    $          899.99
   1   Asus          VS228H-P            21 In Monitor                                                               $        89.99    $           89.99
   2   Brother       MFC-9130CW          Brother Laser Printer                                                       $       284.99    $          569.98
   4   Brother       QL-700              High Speed Thermal Label Printer                                            $        59.99    $          239.96
   1   Brother       HL-L2380            Brother HL-L2380 Laser Printer                                              $       240.00    $          240.00
   1   Cricut        Explore Air 2       Cricut Explore Air 2 Machine                                                $       199.99    $          199.99
   1   Cyberpower    1500AVR             1500AVR UPS                                                                 $       149.99    $          149.99
   2   DELL          SE2717HR            Dell 27" Monitor                                                            $       139.99    $          279.98
   1   Dell          I7573               Dell Inspiron 2 in 1 15.6 Laptop                                            $       599.99    $          599.99
   1   Dell          Inspiron 2          Dell Inspiron 2 in 1 13.3 Laptop                                            $       850.99    $          850.99
   1   Dlink         8-port              D-link 8-Port Gigabit Switch                                                $        19.99    $           19.99
   1   Garmin        Drive 51 LM         Garmin GPS                                                                  $       135.98    $          135.98
   1   Gateway       N/A                 Gateway Desktop 8GB Memory 1TB HD                                           $       579.99    $          579.99
   5   HP            ES27                27" Monitor                                                                 $       179.99    $          899.95
   1   HP            15-DB0011DX         HP 15.6 in AMD A6 Laptop                                                    $       239.99    $          239.99
   3   HP            15-BS113DX          HP 15.6 in i3 Laptop                                                        $       429.99    $        1,289.97
   3   HP            15-BS015DX          HP 15.6 in i5 Laptop                                                        $       529.00    $        1,587.00
   3   HP            24-N014             HP Envy 24-N014 All in one Desktop                                          $       799.99    $        2,399.97
   5   HP            MFP M277            HP LaserJet Pro MFP M277 Printer                                            $       289.99    $        1,449.95
   1   HP            M477FNW             HP M477FNW LaserJet Pro Printer                                             $       619.00    $          619.00
   2   Insignia      NS-55DR             55" 4k Roku Smart TV                                                        $       379.99    $          759.98
   1   Kario                       100   Kiaro! 100 Professional Label Printer w/ roll rewind                        $     8,999.99    $        8,999.99
   2   Lenovo        N/A                 Lenovo 23-inch Wide Flat-Panel LCD Monitor                                  $       199.99    $          399.98
   1   LG            UK6190              70" LG Smark TV with Mount                                                  $       839.98    $          839.98
   1   LG            34UC88              34" Curved LG Monitor                                                       $       999.00    $          999.00
   2   LG            LG 27MK             27" LG LED Monitor                                                          $       134.99    $          269.98
   1   LG            31MU97-B            32in 4k Monitor                                                             $     1,000.00    $        1,000.00
   1   LG            49BL95C-W           49" 4k Curved Montior                                                       $     1,299.99    $        1,299.99
  16   Logitech      MK850               Wireless Mouse & Keyboard                                                   $        59.99    $          959.84
   1   Logitech      MX Master           Logitech MX Master Mouse                                                    $        99.00    $           99.00
   1   N/A           N/A                 Custom Computer                                                             $       999.99    $          999.99
   7   Netgear       GS105               Netgear GS105 5port Gigabit Switch                                          $        37.99    $          265.93
   1   Netgear       GS752TP             48 Port POE Gigabit Switch                                                  $       529.99    $          529.99
   1   Panasonic     NB-G110P            Panasonic FlashXpress NB-G110P                                              $       112.99    $          112.99
   1   Sonicwall     TZ500               Sonicwall TZ500 Firewall                                                    $     1,250.00    $        1,250.00
   4   Specte        E248W               24" LED Monitor                                                             $       109.99    $          439.96
   1   TCL           4-Series            TLC 55" 4k Smart TV                                                         $       349.99    $          349.99
   1   Toshiba       N/A                 65" Toshiba LED 4k TV                                                       $       599.99    $          599.99
   1   Ubiquiti      HD AC150            Amplifi Mesh Router System                                                  $       349.99    $          349.99
   2   Zebra         ZT410               Zebra ZT410 Industreal Thermal Barcode Printer                              $     1,659.00    $        3,318.00
   3   Zebra         GC420D              Direct Thermal Printer                                                      $       300.00    $          900.00
   2   Zmodo         N/A                 Zmodo 4 Channel HD Wireless Cam System                                      $       179.99    $          359.98
                                                                                                            Total:                     $       47,756.08




Exhibit 2
Page 1 of 1
                                     Case 19-34092-tmb11                       Doc 80         Filed 12/04/19
Fizz & Bubble, LLC                                                 SCHEDULE A/B
Case No. 19-34092-tmb11                                            QUESTION #41
                                                                     Exhibit 2


                                                            Office Electronics
QTY    Brand         Model               Equipment Desc.                                                             Unit Value       Total Value
   2   Acer          XC-704              Acer Aspire XC-704G Desktop                                                 $       279.99    $          559.98
   1   Acer          AZ3-715-ACKi5       Acer Aspire Z3-715 All in One Desktop                                       $     1,079.99    $        1,079.99
   1   AOC           I2279VWHE           21" AOC Monitor                                                             $        99.00    $           99.00
   6   AOC           I2779               AOC 27in Led Monitor                                                        $       219.99    $        1,319.94
   1   Apple         PRO                 Apple - MacBook Pro - 15" Display with Touch Bar - Intel Core i7            $     2,399.99    $        2,399.99
   1   Apple         PRO 1TB             Apple - MacBook Pro - 15" Display with Touch Bar - Intel Core i7            $     2,799.99    $        2,799.99
   1   Apple         Macbook Pro         2012 Macbook Pro 13"                                                        $       350.00    $          350.00
   1   Asus          Q505UA              Asus Laptop - i5                                                            $       699.99    $          699.99
   1   Asus          N/A                 Asus Laptop - i7                                                            $       899.99    $          899.99
   1   Asus          VS228H-P            21 In Monitor                                                               $        89.99    $           89.99
   2   Brother       MFC-9130CW          Brother Laser Printer                                                       $       284.99    $          569.98
   4   Brother       QL-700              High Speed Thermal Label Printer                                            $        59.99    $          239.96
   1   Brother       HL-L2380            Brother HL-L2380 Laser Printer                                              $       240.00    $          240.00
   1   Cricut        Explore Air 2       Cricut Explore Air 2 Machine                                                $       199.99    $          199.99
   1   Cyberpower    1500AVR             1500AVR UPS                                                                 $       149.99    $          149.99
   2   DELL          SE2717HR            Dell 27" Monitor                                                            $       139.99    $          279.98
   1   Dell          I7573               Dell Inspiron 2 in 1 15.6 Laptop                                            $       599.99    $          599.99
   1   Dell          Inspiron 2          Dell Inspiron 2 in 1 13.3 Laptop                                            $       850.99    $          850.99
   1   Dlink         8-port              D-link 8-Port Gigabit Switch                                                $        19.99    $           19.99
   1   Garmin        Drive 51 LM         Garmin GPS                                                                  $       135.98    $          135.98
   1   Gateway       N/A                 Gateway Desktop 8GB Memory 1TB HD                                           $       579.99    $          579.99
   5   HP            ES27                27" Monitor                                                                 $       179.99    $          899.95
   1   HP            15-DB0011DX         HP 15.6 in AMD A6 Laptop                                                    $       239.99    $          239.99
   3   HP            15-BS113DX          HP 15.6 in i3 Laptop                                                        $       429.99    $        1,289.97
   3   HP            15-BS015DX          HP 15.6 in i5 Laptop                                                        $       529.00    $        1,587.00
   3   HP            24-N014             HP Envy 24-N014 All in one Desktop                                          $       799.99    $        2,399.97
   5   HP            MFP M277            HP LaserJet Pro MFP M277 Printer                                            $       289.99    $        1,449.95
   1   HP            M477FNW             HP M477FNW LaserJet Pro Printer                                             $       619.00    $          619.00
   2   Insignia      NS-55DR             55" 4k Roku Smart TV                                                        $       379.99    $          759.98
   1   Kario                       100   Kiaro! 100 Professional Label Printer w/ roll rewind                        $     8,999.99    $        8,999.99
   2   Lenovo        N/A                 Lenovo 23-inch Wide Flat-Panel LCD Monitor                                  $       199.99    $          399.98
   1   LG            UK6190              70" LG Smark TV with Mount                                                  $       839.98    $          839.98
   1   LG            34UC88              34" Curved LG Monitor                                                       $       999.00    $          999.00
   2   LG            LG 27MK             27" LG LED Monitor                                                          $       134.99    $          269.98
   1   LG            31MU97-B            32in 4k Monitor                                                             $     1,000.00    $        1,000.00
   1   LG            49BL95C-W           49" 4k Curved Montior                                                       $     1,299.99    $        1,299.99
  16   Logitech      MK850               Wireless Mouse & Keyboard                                                   $        59.99    $          959.84
   1   Logitech      MX Master           Logitech MX Master Mouse                                                    $        99.00    $           99.00
   1   N/A           N/A                 Custom Computer                                                             $       999.99    $          999.99
   7   Netgear       GS105               Netgear GS105 5port Gigabit Switch                                          $        37.99    $          265.93
   1   Netgear       GS752TP             48 Port POE Gigabit Switch                                                  $       529.99    $          529.99
   1   Panasonic     NB-G110P            Panasonic FlashXpress NB-G110P                                              $       112.99    $          112.99
   1   Sonicwall     TZ500               Sonicwall TZ500 Firewall                                                    $     1,250.00    $        1,250.00
   4   Specte        E248W               24" LED Monitor                                                             $       109.99    $          439.96
   1   TCL           4-Series            TLC 55" 4k Smart TV                                                         $       349.99    $          349.99
   1   Toshiba       N/A                 65" Toshiba LED 4k TV                                                       $       599.99    $          599.99
   1   Ubiquiti      HD AC150            Amplifi Mesh Router System                                                  $       349.99    $          349.99
   2   Zebra         ZT410               Zebra ZT410 Industreal Thermal Barcode Printer                              $     1,659.00    $        3,318.00
   3   Zebra         GC420D              Direct Thermal Printer                                                      $       300.00    $          900.00
   2   Zmodo         N/A                 Zmodo 4 Channel HD Wireless Cam System                                      $       179.99    $          359.98
                                                                                                            Total:                     $       47,756.08




Exhibit 2
Page 1 of 1
                                     Case 19-34092-tmb11                       Doc 80         Filed 12/04/19
 Fill in this information to identify the case:

 Debtor name         Fizz & Bubble, LLC

 United States Bankruptcy Court for the:            DISTRICT OF OREGON

 Case number (if known)             19-34092-tmb11
                                                                                                                                              Check if this is an
                                                                                                                                              amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                     12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                    Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                Amount of claim             Value of collateral
                                                                                                                                                that supports this
                                                                                                                    Do not deduct the value     claim
                                                                                                                    of collateral.
 2.1   Bruce Wood, LLC                                Describe debtor's property that is subject to a lien                 $300,000.00                       $0.00
       Creditor's Name                                Secured Note against all assets -
       Attn: Bruce Wood                               Subordinated; Wholly unsecured
       0932 SW Palatine Hill Rd.
       Portland, OR 97219
       Creditor's mailing address                     Describe the lien
                                                      Secured Note
                                                      Is the creditor an insider or related party?
       glennjsmith@yahoo.com                             No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.2   Capital Funding ASAP, LLC                      Describe debtor's property that is subject to a lien                 $217,125.00                       $0.00
       Creditor's Name                                All Assets - Subordinated
                                                      UCC #92032769
       695 Cross Street
       Lakewood, NJ 08701
       Creditor's mailing address                     Describe the lien
                                                      Marketplace Loan
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       9/19/19 (UCC FILED)                               Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply




Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                  page 1 of 6
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                                                  Case 19-34092-tmb11                       Doc 80           Filed 12/04/19
 Debtor       Fizz & Bubble, LLC                                                                       Case number (if know)      19-34092-tmb11
              Name

           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.3   Connie Smith                                   Describe debtor's property that is subject to a lien                      $50,000.00               $0.00
       Creditor's Name                                Secured Note against all assets -
                                                      Subordinated; Wholly unsecured
       0932 SW Palatine Hill Rd
       Portland, OR 97219
       Creditor's mailing address                     Describe the lien
                                                      Secured Note
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.4   Decathlon Alpha III, LP                        Describe debtor's property that is subject to a lien                 $9,000,000.00       $946,909.07
       Creditor's Name                                All Assets - First position
       Attn: John Borchers                            UCC #91676432
       1441 West Ute Blvd, Suite
       240
       Park City, UT 84098
       Creditor's mailing address                     Describe the lien
                                                      Revenue Loan
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       9/21/18 (UCC Filed)                               Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.5   Diane Humke                                    Describe debtor's property that is subject to a lien                     $100,000.00               $0.00
       Creditor's Name                                Secured Note against all assets -
                                                      Subordinated; Wholly unsecured
       32272 Apple Valley Rd
       Scappoose, OR 97056
       Creditor's mailing address                     Describe the lien
                                                      Secured Note
                                                      Is the creditor an insider or related party?
       dhumke@gmail.com                                  No


Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                      page 2 of 6
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                                                  Case 19-34092-tmb11                       Doc 80           Filed 12/04/19
 Debtor       Fizz & Bubble, LLC                                                                       Case number (if know)      19-34092-tmb11
              Name

       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.6   Erik Piper                                     Describe debtor's property that is subject to a lien                     $100,000.00               $0.00
       Creditor's Name                                Secured Note against all assets -
                                                      Subordinated; Wholly unsecured
       4032 SE Ogden Street
       Portland, OR 97202
       Creditor's mailing address                     Describe the lien
                                                      Secured Note
       erikpiper@fizzandbubble.c                      Is the creditor an insider or related party?
       om                                                No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.7   Kenneth Humke                                  Describe debtor's property that is subject to a lien                     $100,000.00               $0.00
       Creditor's Name                                Secured Note against all assets -
                                                      Subordinated; Wholly unsecured
       1432 SE 72nd Ave
       Portland, OR 97015
       Creditor's mailing address                     Describe the lien
                                                      Secured Note
                                                      Is the creditor an insider or related party?
       dhumke@gmail.com                                  No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.8   Queen Funding, LLC                             Describe debtor's property that is subject to a lien                     $530,437.00               $0.00



Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                      page 3 of 6
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                                                  Case 19-34092-tmb11                       Doc 80           Filed 12/04/19
 Debtor       Fizz & Bubble, LLC                                                                       Case number (if know)      19-34092-tmb11
              Name

       Creditor's Name                                Secured Note against all assets -
       Attn: Jordan Jenson                            Subordinated; Wholly unsecured
       101 Chase Ave, Suite 208
       Lake Wood, NJ 08701
       Creditor's mailing address                     Describe the lien
                                                      Marketplace Loan
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



       Unique Funding Solutions,
 2.9                                                                                                                           $671,428.00               $0.00
       LLC                                            Describe debtor's property that is subject to a lien
       Creditor's Name                                Secured Note against all assets -
       Attn: Jordan Jenson                            Subordinated; Wholly unsecured
       2715 Coney Island Ave
       Brooklyn, NY 11235
       Creditor's mailing address                     Describe the lien
                                                      Marketplace Loan
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.1
 0     Valerie Humke                                  Describe debtor's property that is subject to a lien                     $100,000.00               $0.00
       Creditor's Name                                Secured Note against all assets -
                                                      Subordinated; Wholly unsecured
       1919 NW 87th Circle
       Vancouver, WA 98665
       Creditor's mailing address                     Describe the lien
                                                      Secured Note
                                                      Is the creditor an insider or related party?
       dhumke@gmail.com                                  No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number



Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                      page 4 of 6
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                                                  Case 19-34092-tmb11                       Doc 80           Filed 12/04/19
 Debtor       Fizz & Bubble, LLC                                                                       Case number (if know)       19-34092-tmb11
              Name

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
            No                                           Contingent
            Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative         Disputed
        priority.



 2.1
 1      WG Fund, LLC                                  Describe debtor's property that is subject to a lien                     $500,000.00                  $0.00
        Creditor's Name                               Secured Note against all assets -
        Attn: Jordan Jenson                           Subordinated; Wholly unsecured
        1980 Swarthmore Ave
        Lakewood, NJ 08701
        Creditor's mailing address                    Describe the lien
                                                      Marketplace Loan
        jordan@capitalfundingasap                     Is the creditor an insider or related party?
        .com                                             No
        Creditor's email address, if known                Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                           No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
            No                                           Contingent
            Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative         Disputed
        priority.



                                                                                                                               $11,668,990.
 3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                       00

 Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                               you enter the related creditor?   account number for
                                                                                                                                                 this entity
         Capital Funding ASAP LLC
         125 Pearl St                                                                                           Line   2.2
         New York, NY 10038

         Capital Funding ASAP, LLC
         c/o Isaac Greenfield, Esq.                                                                             Line   2.2
         26 Broadway, Suite 375
         New York, NY 10004

         Decathlon Alpha III, LP
         c/o The Corporation Trust Company,RA                                                                   Line   2.4
         780 Commercial St SE Ste 100
         Salem, OR 97301

         Decathlon Alpha III, LP
         c/o The Corporation Trust Company, RA                                                                  Line   2.4
         Corp Trust Ctr - 1209 Orange St
         Wilmington, DE 19801




Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                       page 5 of 6
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                                                   Case 19-34092-tmb11                      Doc 80           Filed 12/04/19
 Debtor       Fizz & Bubble, LLC                                                         Case number (if know)   19-34092-tmb11
              Name

        Queen Funding, LLC
        c/o Joe Liberman, Esq.                                                                  Line   2.8
        101 Chase Ave, Ste 208
        Lakewood, NJ 08701




Official Form 206D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                       page 6 of 6
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                                                Case 19-34092-tmb11           Doc 80       Filed 12/04/19
 Fill in this information to identify the case:

 Debtor name         Fizz & Bubble, LLC

 United States Bankruptcy Court for the:            DISTRICT OF OREGON

 Case number (if known)           19-34092-tmb11
                                                                                                                                                    Check if this is an
                                                                                                                                                    amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                   12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.

       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                      Total claim           Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                          $2,691.37          $2,483.37
           Amaya, Daniel                                             Check all that apply.
           1048 McKinley St                                             Contingent
           Woodburn, OR 97071                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     Wages: $1,261.37 Non-Priority Sick & Vacation:
                                                                     $208.00 Priority Sick & Vacation: $1,222.00
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.2       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                          $4,543.00          $3,043.00
           Anthony, Wesley                                           Check all that apply.
           1425 SW Zurich St #304                                       Contingent
           Wilsonville, OR 97070                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     Wages: $1,543.00 Non-Priority Sick & Vacation:
                                                                     $1,500.00 Priority Sick & Vacation: $1,500.00
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                    page 1 of 34
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                                                Case 19-34092-tmb11                             Doc 80               Filed 12/04/19
 Debtor       Fizz & Bubble, LLC                                                                              Case number (if known)   19-34092-tmb11
              Name

 2.3      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $259.73     $259.73
          Baldovinos, Jennifer                                       Check all that apply.
          1824 32nd Ave NE                                              Contingent
          Salem, OR 97301                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages: $259.73 Non-Priority Sick & Vacation:
                                                                     $0.00 Priority Sick & Vacation: $0.00
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.4      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,094.48     $1,094.48
          Baldovinos, Udelia                                         Check all that apply.
          1824 32nd Ave NE                                              Contingent
          Salem, OR 97301                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages: $1,001.73 Non-Priority Sick & Vacation:
                                                                     $0.00 Priority Sick & Vacation: $92.75
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.5      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $5,603.51     $3,728.51
          Barnes, Taylor                                             Check all that apply.
          385 NW Lost Springs Ter Unit 305                              Contingent
          Portland, OR 97229                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages: $1,853.51 Non-Priority Sick & Vacation:
                                                                     $1,875.00 Priority Sick & Vacation: $1,875.00
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.6      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $7,267.70     $4,906.73
          Brown, Jordan                                              Check all that apply.
          8736 SW Lodi Lane                                             Contingent
          Portland, OR 97224                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages: $2,545.77 Non-Priority Sick & Vacation:
                                                                     $2,360.96 Priority Sick & Vacation: $2,360.96
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 Debtor       Fizz & Bubble, LLC                                                                              Case number (if known)   19-34092-tmb11
              Name

 2.7      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,397.31     $1,092.56
          Chiquito Chavez, Claudia A                                 Check all that apply.
          1300 N 2nd St Apartment B201                                  Contingent
          Woodburn, OR 97071                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages: $867.31 Non-Priority Sick & Vacation:
                                                                     $304.75 Priority Sick & Vacation: $225.25
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.8      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       $0.00
          City of Wilsonville                                        Check all that apply.
          29799 SW Town Center Loop E                                   Contingent
          Wilsonville, OR 97070                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     2018/2019 Transit Tax

          Last 4 digits of account number 4093                       Is the claim subject to offset?

          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.9      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $2,080.50     $1,539.00
          Coria Molina, Jose                                         Check all that apply.
          4495 Pacifica Way NE apartment                                Contingent
          202                                                           Unliquidated
          Salem, OR 97305                                               Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages: $940.50 Non-Priority Sick & Vacation:
                                                                     $541.50 Priority Sick & Vacation: $598.50
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.10     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $2,097.11     $1,313.11
          Cortez, Raquel                                             Check all that apply.
          3614 Fisher Rd. NE Apt. #114                                  Contingent
          Salem, OR 97305                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages: $808.31 Non-Priority Sick & Vacation:
                                                                     $784.00 Priority Sick & Vacation: $504.80
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 Debtor       Fizz & Bubble, LLC                                                                              Case number (if known)   19-34092-tmb11
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 2.11     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $3,043.77     $2,455.77
          Cruz, Cynthia                                              Check all that apply.
          1274 5th street Apt. #22-C                                    Contingent
          Woodburn, OR 97071                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages: $1,517.77 Non-Priority Sick & Vacation:
                                                                     $588.00 Priority Sick & Vacation: $938.00
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.12     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $2,975.97     $2,432.72
          Etor, Oscar                                                Check all that apply.
          3758 Amber St NE 102                                          Contingent
          Salem, OR 97301                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages: $1,531.72 Non-Priority Sick & Vacation:
                                                                     $543.25 Priority Sick & Vacation: $901.00
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.13     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $2,844.38     $2,287.88
          Etor, Violeta                                              Check all that apply.
          3758 Amber St NE 102                                          Contingent
          Salem, OR 97301                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages: $1,400.13 Non-Priority Sick & Vacation:
                                                                     $556.50 Priority Sick & Vacation: $887.75
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.14     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $3,536.57     $2,447.57
          Fuller, Marty                                              Check all that apply.
          7717 SE Ellis St                                              Contingent
          Portland, OR 97206                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages: $1,061.57 Non-Priority Sick & Vacation:
                                                                     $1,089.00 Priority Sick & Vacation: $1,386.00
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 Debtor       Fizz & Bubble, LLC                                                                              Case number (if known)   19-34092-tmb11
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 2.15     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,180.85     $1,180.85
          Garcia Garcia, Stephanie                                   Check all that apply.
          19635 SW 67th Ave                                             Contingent
          Tualatin, OR 97062                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages: $1,180.85 Non-Priority Sick & Vacation:
                                                                     $0.00 Priority Sick & Vacation: $0.00
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.16     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,301.48     $783.48
          Garza, Irene                                               Check all that apply.
          2233 Allan Ave                                                Contingent
          Hubbard, OR 97032                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages: $335.48 Non-Priority Sick & Vacation:
                                                                     $518.00 Priority Sick & Vacation: $448.00
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.17     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $6,860.46     $5,091.23
          Graniti, Craig                                             Check all that apply.
          1251 NW Meadows Dr                                            Contingent
          McMinnville, OR 97128                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages: $2,245.08 Non-Priority Sick & Vacation:
                                                                     $1,769.23 Priority Sick & Vacation: $2,846.15
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.18     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $3,037.34     $2,507.34
          Gregory, Irma                                              Check all that apply.
          353 Palm Avenue                                               Contingent
          Woodburn, OR 97071                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages: $1,540.09 Non-Priority Sick & Vacation:
                                                                     $530.00 Priority Sick & Vacation: $967.25
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 Debtor       Fizz & Bubble, LLC                                                                              Case number (if known)   19-34092-tmb11
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 2.19     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $4,122.87     $3,738.87
          Hannon, Makey                                              Check all that apply.
          2222 SW Vermont St                                            Contingent
          Portland, OR 97219                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages: $1,464.87 Non-Priority Sick & Vacation:
                                                                     $384.00 Priority Sick & Vacation: $2,274.00
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.20     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $10,636.81     $7,029.54
          Harris, Maggie                                             Check all that apply.
          6814 SW 114th Ave                                             Contingent
          Portland, OR 97266                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages: $3,422.27 Non-Priority Sick & Vacation:
                                                                     $3,607.27 Priority Sick & Vacation: $3,607.27
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.21     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,555.87     $1,555.87
          Hart, Zac                                                  Check all that apply.
          7340 SE DIvision St                                           Contingent
          Portland,OR, OR 97206                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages: $1,225.87 Non-Priority Sick & Vacation:
                                                                     $0.00 Priority Sick & Vacation: $330.00
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.22     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $2,529.39     $1,827.14
          Hernandez, Angelica                                        Check all that apply.
          4872 Nicks CT NE                                              Contingent
          Salem, OR 97301                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages: $1,005.64 Non-Priority Sick & Vacation:
                                                                     $702.25 Priority Sick & Vacation: $821.50
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 Debtor       Fizz & Bubble, LLC                                                                              Case number (if known)   19-34092-tmb11
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 2.23     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $711.89     $711.89
          Hernandez, Denise                                          Check all that apply.
          4872 Nicks CT NE                                              Contingent
          Salem, OR 97301                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages: $89.14 Non-Priority Sick & Vacation:
                                                                     $0.00 Priority Sick & Vacation: $622.75
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.24     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,384.34     $1,384.34
          Hernandez, Joselyn                                         Check all that apply.
          1580 Newberg Hwy                                              Contingent
          Woodburn, OR 97071                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages: $796.84 Non-Priority Sick & Vacation:
                                                                     $0.00 Priority Sick & Vacation: $587.50
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.25     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $3,575.26     $2,552.26
          Holterman, Glenn                                           Check all that apply.
          PO Box 941                                                    Contingent
          Woodburn, OR 97071                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages: $1,529.26 Non-Priority Sick & Vacation:
                                                                     $1,023.00 Priority Sick & Vacation: $1,023.00
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.26     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                             $0.00     $0.00
          IRS                                                        Check all that apply.
          Attn: Attorney General of United                              Contingent
          States                                                        Unliquidated
          10th Constitution NW #4400                                    Disputed
          Washington, DC 20530
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Precautionary
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




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 2.27     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                             $0.00     $0.00
          IRS                                                        Check all that apply.
          Attn: Civil Process Clerk                                     Contingent
          U.S. Attorney, District of Oregon                             Unliquidated
          1000 SW 3rd, #600                                             Disputed
          Portland, OR 97204-2936
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Precautionary
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.28     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                             $0.00     $0.00
          IRS                                                        Check all that apply.
          Centralized Insolvency Operation                              Contingent
          P. O. Box 7346                                                Unliquidated
          Philadelphia, PA 19101                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Precautionary
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.29     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $2,659.51     $2,262.01
          Kraskov, Varvara                                           Check all that apply.
          32636 S Meridian Rd                                           Contingent
          Woodburn, OR 97071                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages: $963.51 Non-Priority Sick & Vacation:
                                                                     $397.50 Priority Sick & Vacation: $1,298.50
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.30     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $6,096.66     $4,366.26
          Lamm, Shaunessi                                            Check all that apply.
          4224 SE 29th Ave                                              Contingent
          Portland, OR 97202                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages: $2,635.86 Non-Priority Sick & Vacation:
                                                                     $1,730.40 Priority Sick & Vacation: $1,730.40
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 Debtor       Fizz & Bubble, LLC                                                                              Case number (if known)   19-34092-tmb11
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 2.31     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $2,273.08     $1,660.33
          Lute, Jason                                                Check all that apply.
          1 River Loft Apt 79                                           Contingent
          Tualatin, OR 97062                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages: $456.20 Non-Priority Sick & Vacation:
                                                                     $612.75 Priority Sick & Vacation: $1,204.13
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.32     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $2,674.22     $2,051.47
          Machic De Satey, Maria                                     Check all that apply.
          669 Young St Apt 404                                          Contingent
          Woodburn, OR 97071                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages: $819.22 Non-Priority Sick & Vacation:
                                                                     $622.75 Priority Sick & Vacation: $1,232.25
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.33     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $3,097.09     $2,540.59
          Maratas, Gertrudes                                         Check all that apply.
          2040 Carleton Way NE Salem                                    Contingent
          Salem, OR 97301                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages: $1,599.84 Non-Priority Sick & Vacation:
                                                                     $556.50 Priority Sick & Vacation: $940.75
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.34     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $2,214.89     $2,077.39
          Maravilla, Alexandria                                      Check all that apply.
          450 S Pine St Apt G104                                        Contingent
          Canby, OR 97013                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages: $1,142.39 Non-Priority Sick & Vacation:
                                                                     $137.50 Priority Sick & Vacation: $935.00
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 2.35     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,500.38     $1,258.13
          Martinez, Miguel                                           Check all that apply.
          29527 SW Meadows Loop Apt 16                                  Contingent
          Wilsonville, OR 97070                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages: $403.13 Non-Priority Sick & Vacation:
                                                                     $242.25 Priority Sick & Vacation: $855.00
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.36     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $2,691.61     $1,870.11
          Martinez, Salomon                                          Check all that apply.
          3497 Linda St                                                 Contingent
          Woodburn, OR 97071                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages: $545.11 Non-Priority Sick & Vacation:
                                                                     $821.50 Priority Sick & Vacation: $1,325.00
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.37     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $242.08     $242.08
          Mateo, Norma                                               Check all that apply.
          350 Sycamore Ave                                              Contingent
          Woodburn, OR 97071                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages: $242.08 Non-Priority Sick & Vacation:
                                                                     $0.00 Priority Sick & Vacation: $0.00
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.38     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $2,562.45     $2,032.45
          Monroy, Jesus                                              Check all that apply.
          7762 SW Roanoke Dr                                            Contingent
          Wilsonville, OR 97070                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages: $1,330.20 Non-Priority Sick & Vacation:
                                                                     $530.00 Priority Sick & Vacation: $702.25
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 Debtor       Fizz & Bubble, LLC                                                                              Case number (if known)   19-34092-tmb11
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 2.39     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,621.68     $1,251.18
          Nelson, Maria Carmen                                       Check all that apply.
          25604 SW Canyon Creek Rd T102                                 Contingent
          Wilsonville, OR 97070                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages: $823.68 Non-Priority Sick & Vacation:
                                                                     $370.50 Priority Sick & Vacation: $427.50
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.40     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                             $0.00     $0.00
          ODR                                                        Check all that apply.
          ATTN: Bankruptcy Unit                                         Contingent
          955 Center St NE                                              Unliquidated
          Salem, OR 97301                                               Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Precautionary
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.41     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                             $0.00     $0.00
          ODR                                                        Check all that apply.
          c/o Ellen Rosenblum, Attorney                                 Contingent
          General                                                       Unliquidated
          Oregon Department of Justice                                  Disputed
          1162 Court St, NE
          Salem, OR 97301-4096
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Precautionary
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.42     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $351.85     $351.85
          Ortiz, Juan                                                Check all that apply.
          624 Tierra Drive NE                                           Contingent
          Salem, OR 97301                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages: $351.85 Non-Priority Sick & Vacation:
                                                                     $0.00 Priority Sick & Vacation: $0.00
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 Debtor       Fizz & Bubble, LLC                                                                              Case number (if known)   19-34092-tmb11
              Name

 2.43     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $2,274.69     $1,775.94
          Palmero, Dayana                                            Check all that apply.
          3033 Stortz Ave NE                                            Contingent
          Salem, OR 97301                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages: $920.94 Non-Priority Sick & Vacation:
                                                                     $498.75 Priority Sick & Vacation: $855.00
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.44     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $3,980.62     $2,693.62
          Perez Figueroa, Marta                                      Check all that apply.
          3809 48th Ave Ne                                              Contingent
          Salem, OR 97305                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages: $1,484.62 Non-Priority Sick & Vacation:
                                                                     $1,287.00 Priority Sick & Vacation: $1,209.00
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.45     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $373.82     $373.82
          Perez Rivas, Michell K.                                    Check all that apply.
          119 Elma Ave SE                                               Contingent
          Salem, OR 97317                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages: $373.82 Non-Priority Sick & Vacation:
                                                                     $0.00 Priority Sick & Vacation: $0.00
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.46     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $3,048.28     $2,058.28
          Phillips, Jamie                                            Check all that apply.
          3101 Aldersgate Dr                                            Contingent
          Newberg, OR 97132                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages: $1,068.28 Non-Priority Sick & Vacation:
                                                                     $990.00 Priority Sick & Vacation: $990.00
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 Debtor       Fizz & Bubble, LLC                                                                              Case number (if known)   19-34092-tmb11
              Name

 2.47     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $247.82     $247.82
          Poll, Sharisa                                              Check all that apply.
          12061 SW Tualatin Rd #532                                     Contingent
          Tualatin, OR 97062                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages: $247.82 Non-Priority Sick & Vacation:
                                                                     $0.00 Priority Sick & Vacation: $0.00
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.48     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $2,094.95     $1,568.45
          Polushkin, Kelina                                          Check all that apply.
          8018 Waconda RD NE                                            Contingent
          Salem, OR 97305                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages: $663.95 Non-Priority Sick & Vacation:
                                                                     $526.50 Priority Sick & Vacation: $904.50
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.49     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $3,077.12     $2,310.12
          Pua, Cynthia                                               Check all that apply.
          PO Box 1432                                                   Contingent
          Wilsonville, OR 97070                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages: $1,130.12 Non-Priority Sick & Vacation:
                                                                     $767.00 Priority Sick & Vacation: $1,180.00
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.50     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $3,038.37     $2,297.37
          Pua, Sammy                                                 Check all that apply.
          PO Box 1432                                                   Contingent
          Wilsonville, OR 97070                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages: $1,100.37 Non-Priority Sick & Vacation:
                                                                     $741.00 Priority Sick & Vacation: $1,197.00
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 Debtor       Fizz & Bubble, LLC                                                                              Case number (if known)   19-34092-tmb11
              Name

 2.51     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $177.92     $177.92
          Radilla, Robert                                            Check all that apply.
          428 5th St.                                                   Contingent
          Dayton, OR 97114                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages: $177.92 Non-Priority Sick & Vacation:
                                                                     $0.00 Priority Sick & Vacation: $0.00
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.52     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $2,856.48     $2,254.48
          Rickard, Beckie                                            Check all that apply.
          835 SE 1st Ave                                                Contingent
          Canby, OR 97013                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages: $1,694.48 Non-Priority Sick & Vacation:
                                                                     $602.00 Priority Sick & Vacation: $560.00
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.53     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $4,590.82     $3,606.82
          Rodriguez, Brian                                           Check all that apply.
          509 N Harrison St                                             Contingent
          Newberg, OR 97132                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages: $2,790.82 Non-Priority Sick & Vacation:
                                                                     $984.00 Priority Sick & Vacation: $816.00
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.54     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,410.02     $1,330.52
          Romero, Jose                                               Check all that apply.
          415 Toliver Rd E1                                             Contingent
          Molalla, OR 97038                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages: $919.77 Non-Priority Sick & Vacation:
                                                                     $79.50 Priority Sick & Vacation: $410.75
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 Debtor       Fizz & Bubble, LLC                                                                              Case number (if known)   19-34092-tmb11
              Name

 2.55     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,410.02     $1,330.52
          Romero, Luis                                               Check all that apply.
          415 Toliver Rd E1                                             Contingent
          Molalla, OR 97038                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages: $919.77 Non-Priority Sick & Vacation:
                                                                     $79.50 Priority Sick & Vacation: $410.75
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.56     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $6,500.00     $6,500.00
          Rudolph, Kim                                               Check all that apply.
          2236 NW Pinnacle Drive                                        Contingent
          Portland, OR 97229                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages: $6,500.00 Non-Priority Sick & Vacation:
                                                                     $0.00 Priority Sick & Vacation: $0.00
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.57     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $2,712.86     $2,182.86
          Sanchez Gallardo, Blanca                                   Check all that apply.
          250 S Locust St Apt 8                                         Contingent
          Canby, OR 97013                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages: $1,732.36 Non-Priority Sick & Vacation:
                                                                     $530.00 Priority Sick & Vacation: $450.50
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.58     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,809.17     $1,809.17
          Sanchez, Avidan                                            Check all that apply.
          13944 Hito Ln NE                                              Contingent
          Aurora, OR 97002                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages: $1,309.17 Non-Priority Sick & Vacation:
                                                                     $0.00 Priority Sick & Vacation: $500.00
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 Debtor       Fizz & Bubble, LLC                                                                              Case number (if known)   19-34092-tmb11
              Name

 2.59     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $2,810.57     $2,201.07
          Satey - Machic, Ana                                        Check all that apply.
          669 Young street Apt 404                                      Contingent
          Woodburn, OR 97071                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages: $823.07 Non-Priority Sick & Vacation:
                                                                     $609.50 Priority Sick & Vacation: $1,378.00
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.60     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $2,896.14     $2,336.14
          Satey Machic, Catarina                                     Check all that apply.
          669 Young street Apt 404                                      Contingent
          Woodburn, OR 97071                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages: $936.14 Non-Priority Sick & Vacation:
                                                                     $560.00 Priority Sick & Vacation: $1,400.00
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.61     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,180.85     $1,180.85
          Sevariano Bailon, Alejandro                                Check all that apply.
          19635 SW 67th Ave                                             Contingent
          Tualatin, OR 97062                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages: $1,180.85 Non-Priority Sick & Vacation:
                                                                     $0.00 Priority Sick & Vacation: $0.00
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.62     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $2,267.42     $1,750.67
          Simmons, Jonathan                                          Check all that apply.
          1916 Warner St                                                Contingent
          salem, OR 97301                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages: $1,353.17 Non-Priority Sick & Vacation:
                                                                     $516.75 Priority Sick & Vacation: $397.50
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 Debtor       Fizz & Bubble, LLC                                                                              Case number (if known)   19-34092-tmb11
              Name

 2.63     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $3,022.10     $2,154.10
          Small, Mark                                                Check all that apply.
          28440 Highland Circle                                         Contingent
          Wilsonville, OR 97070                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages: $950.10 Non-Priority Sick & Vacation:
                                                                     $868.00 Priority Sick & Vacation: $1,204.00
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.64     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $2,607.46     $2,156.96
          Snegirev, Lisa                                             Check all that apply.
          30330 S Molalla Avenue                                        Contingent
          Molalla, OR 97038                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages: $1,163.21 Non-Priority Sick & Vacation:
                                                                     $450.50 Priority Sick & Vacation: $993.75
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.65     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,881.92     $1,266.92
          Soto, Hisabel                                              Check all that apply.
          988 Alder Lane                                                Contingent
          Woodburn, OR 97071                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages: $141.92 Non-Priority Sick & Vacation:
                                                                     $615.00 Priority Sick & Vacation: $1,125.00
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.66     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       $0.00
          State of Oregon                                            Check all that apply.
          Employment Dept.                                              Contingent
          875 Union Street NE                                           Unliquidated
          Salem, OR 97311                                               Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     2018/2019 Employment Taxes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




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 Debtor       Fizz & Bubble, LLC                                                                              Case number (if known)   19-34092-tmb11
              Name

 2.67     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                             $0.00     $0.00
          State of Oregon                                            Check all that apply.
          Dept of Consumer & Business                                   Contingent
          Svcs                                                          Unliquidated
          PO Box 14480                                                  Disputed
          Salem, OR 97309
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Precautionary
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.68     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $113,250.82     $0.00
          State of Oregon BOLI                                       Check all that apply.
          800 NE Oregon St., Ste 1045                                   Contingent
          Portland, OR 97232                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Assigned wage claims
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.69     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $3,077.62     $2,494.62
          Stenzel, Larry                                             Check all that apply.
          1200 NE Terrirorial Rd #53                                    Contingent
          Canby, OR 97002                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages: $1,633.37 Non-Priority Sick & Vacation:
                                                                     $583.00 Priority Sick & Vacation: $861.25
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.70     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $2,414.59     $2,295.34
          Topete, Gabriela                                           Check all that apply.
          4557 Shipps PL NE                                             Contingent
          Salem, OR 97305                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages: $784.84 Non-Priority Sick & Vacation:
                                                                     $119.25 Priority Sick & Vacation: $1,510.50
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 Debtor       Fizz & Bubble, LLC                                                                              Case number (if known)   19-34092-tmb11
              Name

 2.71     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $4,039.47     $3,206.97
          Torres, Jessica                                            Check all that apply.
          753 Leasure Street                                            Contingent
          Woodburn, OR 97071                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages: $1,079.47 Non-Priority Sick & Vacation:
                                                                     $832.50 Priority Sick & Vacation: $2,127.50
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.72     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $4,691.66     $3,557.09
          Valdovinos, Erik                                           Check all that apply.
          259 S Sequoia Parkway Apt C20                                 Contingent
          Canby, OR 97013                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages: $1,384.10 Non-Priority Sick & Vacation:
                                                                     $1,134.57 Priority Sick & Vacation: $2,172.99
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.73     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $896.66     $896.66
          Valdovinos, Juan                                           Check all that apply.
          3809 48th Ave NE                                              Contingent
          Salem, OR 97305                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages: $870.16 Non-Priority Sick & Vacation:
                                                                     $0.00 Priority Sick & Vacation: $26.50
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.74     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $2,654.41     $2,203.91
          Valdovinos, Kelsey                                         Check all that apply.
          3809 48th Ave NE                                              Contingent
          Salem, OR 97305                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages: $988.88 Non-Priority Sick & Vacation:
                                                                     $450.50 Priority Sick & Vacation: $1,215.03
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 2.75     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $3,493.03     $2,395.03
          Valdovinos-Perez, Yesenia                                  Check all that apply.
          4495 Pacifica Way NE Apt #202                                 Contingent
          Salem, OR 97305                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages: $1,279.03 Non-Priority Sick & Vacation:
                                                                     $1,098.00 Priority Sick & Vacation: $1,116.00
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.76     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,743.55     $1,187.05
          Vasquez, Guadencio                                         Check all that apply.
          669 Young Street #403                                         Contingent
          Woodburn, OR 97071                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages: $233.05 Non-Priority Sick & Vacation:
                                                                     $556.50 Priority Sick & Vacation: $954.00
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.77     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $2,096.06     $1,539.56
          Vasquez, Herminia                                          Check all that apply.
          669 Young Street #403                                         Contingent
          Woodburn, OR 97071                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages: $241.06 Non-Priority Sick & Vacation:
                                                                     $556.50 Priority Sick & Vacation: $1,298.50
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.78     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $3,156.87     $2,386.87
          Whitehouse, Daniel                                         Check all that apply.
          PO Box 82582                                                  Contingent
          Portland,, OR 97282                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages: $916.87 Non-Priority Sick & Vacation:
                                                                     $770.00 Priority Sick & Vacation: $1,470.00
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 2.79       Priority creditor's name and mailing address             As of the petition filing date, the claim is:                                       $5,000.00    $5,000.00
            Wilson, Matthew                                          Check all that apply.
            3330 Panorama Drive                                         Contingent
            Redding, CA 96003                                           Unliquidated
                                                                        Disputed

            Date or dates debt was incurred                          Basis for the claim:
                                                                     Wages: $5,000.00 Non-Priority Sick & Vacation:
                                                                     $0.00 Priority Sick & Vacation: $0.00
            Last 4 digits of account number                          Is the claim subject to offset?
            Specify Code subsection of PRIORITY                         No
            unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.80       Priority creditor's name and mailing address             As of the petition filing date, the claim is:                                       $3,039.37    $2,588.87
            Yang, Samantha                                           Check all that apply.
            236 Burl St                                                 Contingent
            Newberg, OR 97132                                           Unliquidated
                                                                        Disputed

            Date or dates debt was incurred                          Basis for the claim:
                                                                     Wages: $1,237.37 Non-Priority Sick & Vacation:
                                                                     $450.50 Priority Sick & Vacation: $1,351.50
            Last 4 digits of account number                          Is the claim subject to offset?
            Specify Code subsection of PRIORITY                         No
            unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes



 Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
        3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
           out and attach the Additional Page of Part 2.
                                                                                                                                                       Amount of claim

 3.1       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                  $25,690.00
           Advanced Process Systems                                                    Contingent
           508 Danby Ct                                                                Unliquidated
           Petaluma, CA 94954                                                          Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:     Vendor
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?      No      Yes

 3.2       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                  $10,660.32
           Alliance Packaging                                                          Contingent
           6415 NE Jacobson St.                                                        Unliquidated
           Hillsboro, OR 97124                                                         Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:     Vendor
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?      No      Yes

 3.3       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                    $2,000.00
           Arctic Glacier                                                              Contingent
           PO Box 856530                                                               Unliquidated
           minneapolis, MN 55485                                                       Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:     Vendor
           Last 4 digits of account number      0965
                                                                                   Is the claim subject to offset?      No      Yes




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 3.4      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $10,788.22
          Ariba, Inc.                                                           Contingent
          PO Box 642962                                                         Unliquidated
          Pittsburgh, PA 15264                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor - Portal
          Last 4 digits of account number       9102
                                                                             Is the claim subject to offset?     No       Yes

 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,914.24
          Astro Nova                                                            Contingent
          PO Box 842554                                                         Unliquidated
          Boston, MA 02284                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $4,309.72
          Batory Foods                                                          Contingent
          Dept LA 24922                                                         Unliquidated
          Pasadena, CA 91185                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $13,866.39
          Bullard Law                                                           Contingent
          200 SW Market Street, Suite 1900                                      Unliquidated
          Portland, OR 97201                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number       9142
                                                                             Is the claim subject to offset?     No       Yes

 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $370.50
          Bullard Law                                                           Contingent
          200 Market Street, Suite 1900                                         Unliquidated
          Portland, OR 97201                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor/Lawyers
          Last 4 digits of account number       9141
                                                                             Is the claim subject to offset?     No       Yes

 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $11,567.00
          Bullivant Houser Bailey PC                                            Contingent
          Attn: John Kreutzer                                                   Unliquidated
          888 SW 5th Ave # 300                                                  Disputed
          Portland, OR 97204
                                                                             Basis for the claim:    Legal
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $14,045.00
          Cascade Fruit Marketing                                               Contingent
          30470 SW Parkway Ave Ste A                                            Unliquidated
          Wilsonville, OR 97070                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number       3786
                                                                             Is the claim subject to offset?     No       Yes




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 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,098.26
          Chempoint                                                             Contingent
          411 108th Ave NE                                                      Unliquidated
          Bellevue, WA 98004                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number       5004
                                                                             Is the claim subject to offset?     No       Yes

 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $5,755.09
          Clear Bags                                                            Contingent
          4949 Windplay Dr. #100                                                Unliquidated
          El Dorado Hills, CA 95762                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $753.55
          Comcast Business 5970                                                 Contingent
          PO Box 37601                                                          Unliquidated
          Philadelphia, PA 19101                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utility/Phones
          Last 4 digits of account number       5970
                                                                             Is the claim subject to offset?     No       Yes

 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $29,763.59
          Container and Packaging                                               Contingent
          1345 East State Street                                                Unliquidated
          Eagle, ID 83616                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number       0239
                                                                             Is the claim subject to offset?     No       Yes

 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,962.15
          Coulter Printing                                                      Contingent
          8855 SW Holly Ln suite 112                                            Unliquidated
          Wilsonville, OR 97070                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number       2668
                                                                             Is the claim subject to offset?     No       Yes

 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $731.38
          Craftsman Label                                                       Contingent
          13101 SE 84th Ave Suite B                                             Unliquidated
          Clackamas, OR 97015                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $5,294.38
          Crossmark                                                             Contingent
          PO Box 844403                                                         Unliquidated
          Dallas, TX 75284                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Culligan Portland                                                     Contingent
          3728 E Longfellow Ave Suite 1                                         Unliquidated
          Spokane, WA 99217                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor - Precautionary
          Last 4 digits of account number       6529
                                                                             Is the claim subject to offset?     No       Yes

 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          De Lage landen                                                        Contingent
          1111 Old Eagle School Rd                                              Unliquidated
          Wayne, PA 19087                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Additional Notice Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $172.14
          Direct Link                                                           Contingent
          PO Box 880                                                            Unliquidated
          Canby, OR 97013                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utility/Internet
          Last 4 digits of account number       5500
                                                                             Is the claim subject to offset?     No       Yes

 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $10,725.00
          Elena Foley Consulting                                                Contingent
          10104 NW Engleman St                                                  Unliquidated
          Portland, OR 97229                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Consultant
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $100,000.00
          Ernest Packaging Solutions                                            Contingent
          9255 NE Alderwood Rd                                                  Unliquidated
          Portland, OR 97220                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Judgment
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $6,058.30
          Estes                                                                 Contingent
          PO Box 25612                                                          Unliquidated
          Richmond, VA 23260                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor/judgment
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,970.00
          Excel Packaging                                                       Contingent
          11799 Jersey Boulevard                                                Unliquidated
          Rancho Cucamonga, CA 91730                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $16,783.14
          Experis                                                               Contingent
          10260 SW Greenburg Rd Suite 500                                       Unliquidated
          Portland, OR 97223                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor/Legal
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $451,703.10
          Express Services                                                      Contingent
          PO Box 4427                                                           Unliquidated
          Portland, OR 97208                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor - judgment
          Last 4 digits of account number       2201
                                                                             Is the claim subject to offset?     No       Yes

 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,250.00
          Fasttrack Export                                                      Contingent
          3145 Medlock Bridge Rd                                                Unliquidated
          Norcross, GA 30071                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $932.44
          Fed Ex                                                                Contingent
          PO Box 7221                                                           Unliquidated
          Pasadena, CA 90019                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number       9974
                                                                             Is the claim subject to offset?     No       Yes

 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $370.03
          First Choice Coffee Company                                           Contingent
          313 SE Yamhill                                                        Unliquidated
          Portland, OR 97214                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor/Coffee
          Last 4 digits of account number       2554
                                                                             Is the claim subject to offset?     No       Yes

 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $9,500.00
          Frank Recruitment Group                                               Contingent
          110 William St Fl 21                                                  Unliquidated
          New York, NY 10038                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Legal
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $11,377.25
          Frontier Labels                                                       Contingent
          340 Interstate Blvd                                                   Unliquidated
          Greenville, SC 29615                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,600.00
          GeffenMesher                                                          Contingent
          888 SW 5th Ave, Suite 800                                             Unliquidated
          Portland, OR 97204                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Accountants
          Last 4 digits of account number       6617
                                                                             Is the claim subject to offset?     No       Yes

 3.33     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $19,123.14
          Genesis Specialty Alkali LLC                                          Contingent
          PO Box 91334                                                          Unliquidated
          Chicago, IL 60693                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number       8584
                                                                             Is the claim subject to offset?     No       Yes

 3.34     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $137.00
          Golson Scruggs                                                        Contingent
          10998 SW 68th Parkway                                                 Unliquidated
          Portland, OR 97223                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number       7930
                                                                             Is the claim subject to offset?     No       Yes

 3.35     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $35,000.00
          Harsch Investment Property                                            Contingent
          1620 SW Taylor, Suite 300                                             Unliquidated
          Portland, OR 97205                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Rent
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.36     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Health Net of Oregon                                                  Contingent
          PO Box 749393                                                         Unliquidated
          Los Angeles, CA 97070                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Health Ins. - Precautionary
          Last 4 digits of account number       490A
                                                                             Is the claim subject to offset?     No       Yes

 3.37     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $57,387.66
          IDL Worldwide                                                         Contingent
          PO Box 536642                                                         Unliquidated
          Pittsburg, PA 15253                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number       9738
                                                                             Is the claim subject to offset?     No       Yes

 3.38     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $129,737.62
          IPT                                                                   Contingent
          PO Box 206918                                                         Unliquidated
          Dallas, TX 75320                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor/Legal
          Last 4 digits of account number       3866
                                                                             Is the claim subject to offset?     No       Yes




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 3.39     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $27,500.25
          JDR Consulting                                                        Contingent
          13175 SW Dartmoor Ct                                                  Unliquidated
          Beaverton, OR 97008                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.40     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,242.20
          Jogue                                                                 Contingent
          PO Box 190                                                            Unliquidated
          Northville, MI 48167                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.41     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $32,760.00
          Jungbunzlauer                                                         Contingent
          PO Box 845899                                                         Unliquidated
          Boston, MA 02284                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.42     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $275.00
          Klaviyo Inc                                                           Contingent
          225 Franklin St                                                       Unliquidated
          Boston, MA 02110                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.43     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Liberty Mutual Insurance                                              Contingent
          PO Box 85834                                                          Unliquidated
          San Diego, CA 92186                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Commercial/Auto Ins - Precautionary
          Last 4 digits of account number       9460
                                                                             Is the claim subject to offset?     No       Yes

 3.44     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          LifeMap                                                               Contingent
          PO BOX 1650                                                           Unliquidated
          Milwaukee, WI 53201                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Dental Ins. - Precautionary
          Last 4 digits of account number       7961
                                                                             Is the claim subject to offset?     No       Yes

 3.45     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $36,971.55
          LTK LLC                                                               Contingent
          5648 Evans Valley Loop Road NE                                        Unliquidated
          Silverton, OR 97381                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Rent
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.46     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $13,907.14
          Lucks                                                                 Contingent
          P.O. Box 84192                                                        Unliquidated
          Seattle, WA 98124                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number       8124
                                                                             Is the claim subject to offset?     No       Yes

 3.47     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,385.00
          Material Flow & Conveyor                                              Contingent
          21150 Butteville Rd NE                                                Unliquidated
          Donald, OR 97020                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.48     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $13,133.66
          Michael Scot Krueger                                                  Contingent
          21 Hunter Point                                                       Unliquidated
          Pomona, CA 91766                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor/Contract ex employee
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.49     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $362.18
          Molalla Sanitary Service Inc                                          Contingent
          820 7th St                                                            Unliquidated
          Oregon City, OR 97045                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utility
          Last 4 digits of account number       9000
                                                                             Is the claim subject to offset?     No       Yes

 3.50     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $185,015.00
          Now CFO                                                               Contingent
          5251 S Green Street, Suite 350                                        Unliquidated
          Murray, UT 84123                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor/Legal
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.51     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $105,000.00
          OMEP                                                                  Contingent
          7650 SW Beveland Street, Suite 170                                    Unliquidated
          Portland, OR 97223                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor/Legal
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.52     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,083.69
          OpenText                                                              Contingent
          29144 Network Place                                                   Unliquidated
          Chicago, IL 60673                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor/Portal
          Last 4 digits of account number       7882
                                                                             Is the claim subject to offset?     No       Yes




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 3.53     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $9,200.00
          ORC International                                                     Contingent
          902 Carnegie Center, Suite 200                                        Unliquidated
          Princeton, NJ 08540                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.54     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $98,356.25
          Oswego Fiancial Services                                              Contingent
          0932 SW Palatine Hill Road                                            Unliquidated
          Portland, OR 97219                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.55     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $20,812.85
          Pacific Trading Inland, INC                                           Contingent
          PO Box 786                                                            Unliquidated
          Gladstone, OR 97027                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor/Shipping Compnay
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.56     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $691.05
          Personnel Concepts                                                    Contingent
          Compliance Service Dept                                               Unliquidated
          PO Box 5750                                                           Disputed
          Carol Stream, IL 60197
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number       6662                         Is the claim subject to offset?     No       Yes


 3.57     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $14,730.15
          PGE                                                                   Contingent
          PO Box 4438                                                           Unliquidated
          Portland, OR 97208                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utility
          Last 4 digits of account number       5045
                                                                             Is the claim subject to offset?     No       Yes

 3.58     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $4,348.37
          PGE                                                                   Contingent
          PO Box 4438                                                           Unliquidated
          Portland, OR 97208                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utility (Molalla Site)
          Last 4 digits of account number       2723
                                                                             Is the claim subject to offset?     No       Yes

 3.59     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,004.79
          PGE                                                                   Contingent
          P.O. Box 4438                                                         Unliquidated
          Portland, OR 97208                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utility
          Last 4 digits of account number       1000
                                                                             Is the claim subject to offset?     No       Yes




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 3.60     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $4,920.75
          Practical Baker                                                       Contingent
          600 Chippewa Rd                                                       Unliquidated
          Harvard, IL 60033                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.61     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,546.61
          Precision Products                                                    Contingent
          281 Young Harris St Suite D PMB 273                                   Unliquidated
          Blairsville, GA 30512                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    legal
          Last 4 digits of account number       2602
                                                                             Is the claim subject to offset?     No       Yes

 3.62     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $47,240.50
          Premier Press                                                         Contingent
          5000 N Basin Ave                                                      Unliquidated
          Portland, OR 97217                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.63     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $856.86
          Pride Disposal Company                                                Contingent
          PO Box 820                                                            Unliquidated
          Sherwood, OR 97140                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utility/Garbage
          Last 4 digits of account number       7925
                                                                             Is the claim subject to offset?     No       Yes

 3.64     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Professional Image                                                    Contingent
          12437 East 60th Street                                                Unliquidated
          Tulsa, OK 74146                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Legal - Precautionary
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.65     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,620.20
          Republic Services                                                     Contingent
          10295 SW Ridder Road                                                  Unliquidated
          Wilsonville, OR 97070                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utility
          Last 4 digits of account number       7834
                                                                             Is the claim subject to offset?     No       Yes

 3.66     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $519.60
          Republic Services                                                     Contingent
          PO Box 455                                                            Unliquidated
          Pheonix, AZ 85062                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utility/Garbage
          Last 4 digits of account number       9650
                                                                             Is the claim subject to offset?     No       Yes




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 3.67     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,750.00
          Robert Hass Accounting Firm                                           Contingent
          21925 Field Parkway Suite 100                                         Unliquidated
          Deer Park, IL 60010                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor/Garbage
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.68     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,600.69
          Rose City Label Co.                                                   Contingent
          7235 SE Label Ln                                                      Unliquidated
          Portland, OR 97206                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.69     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $45,219.20
          RPG                                                                   Contingent
          119 West 57th Street                                                  Unliquidated
          New York, NY 10019                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.70     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $8,120.00
          S&M Moving Systems                                                    Contingent
          PO Box 30846 Dept. 9046                                               Unliquidated
          Salt Lake City, UT 84130                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Rent
          Last 4 digits of account number       A701
                                                                             Is the claim subject to offset?     No       Yes

 3.71     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $7,724.50
          Shay & Company                                                        Contingent
          10639 SE Fuller Rd                                                    Unliquidated
          Milwaukie, OR 97222                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.72     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $15,530.28
          Sidebar Legal                                                         Contingent
          890 Cypress Avenue                                                    Unliquidated
          Redding, CA 96001                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.73     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $4,770.00
          Slamm Designs                                                         Contingent
          4224 SE 29th Ave                                                      Unliquidated
          Portland, OR 97202                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.74     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Superior Vision                                                       Contingent
          PO Box 841343                                                         Unliquidated
          Dallas, TX 75284                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vision Insurance - Precautionary
          Last 4 digits of account number       9501
                                                                             Is the claim subject to offset?     No       Yes

 3.75     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $20,534.00
          Supply Source                                                         Contingent
          12402 SE Jennifer St. #190                                            Unliquidated
          Clackamas, OR 97015                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number       0200
                                                                             Is the claim subject to offset?     No       Yes

 3.76     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $846.00
          Taurus Power & Controls                                               Contingent
          9999 SW Avery St                                                      Unliquidated
          Tualatin, OR 97062                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.77     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $14,626.00
          Tonkon Torp LLP                                                       Contingent
          888 SW 5th Ave                                                        Unliquidated
          Portland, OR 97204                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.78     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Toyota Industries Commercial Finance Inc                              Contingent
          PO Box 9050                                                           Unliquidated
          Flower Mound, TX 75022                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Additional Notice Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.79     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $7,741.32
          TRACO Manufacturing, Inc.                                             Contingent
          620 South 1325 West                                                   Unliquidated
          Orem, UT 84058                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number       0412
                                                                             Is the claim subject to offset?     No       Yes

 3.80     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $21,775.36
          Tractenberg                                                           Contingent
          116 East 16th Street 2nd floor                                        Unliquidated
          New York, NY 10003                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor/Legal
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.81     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $202,803.93
          Tricor Brands                                                         Contingent
          7931 NE Halsey St #101                                                Unliquidated
          Portland, OR 97213                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.82     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $8,881.50
          Tyler Smith & Associates P.C.                                         Contingent
          181 N Grant St. STE 212                                               Unliquidated
          Canby, OR 97013                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.83     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $7,598.29
          Uline                                                                 Contingent
          PO Box 88741                                                          Unliquidated
          Chicago, IL 60680                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number       4268
                                                                             Is the claim subject to offset?     No       Yes

 3.84     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $5,850.13
          Univar Inc.                                                           Contingent
          PO Box 409692                                                         Unliquidated
          Atlanta, GA 30384                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.85     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $21,494.81
          UPS Freight                                                           Contingent
          28013 Network Place                                                   Unliquidated
          Chicago, IL 60673                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number       Y41R
                                                                             Is the claim subject to offset?     No       Yes

 3.86     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $12,195.44
          Visstun Cups & Containers                                             Contingent
          6355 Sunset Corporate Dr                                              Unliquidated
          Las Vegas, NV 89120                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number       U322
                                                                             Is the claim subject to offset?     No       Yes

 3.87     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $88.57
          Wincrest Bulk Foods                                                   Contingent
          PO Box 44                                                             Unliquidated
          Munnsville, NY 13409                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.88      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $3,297.51
           YRC Freight                                                          Contingent
           PO Box 730375                                                        Unliquidated
           Dallas, TX 75373                                                     Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
           Last 4 digits of account number      5490
                                                                             Is the claim subject to offset?        No      Yes

 3.89      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                       $0.00
           Zepak Corp.                                                          Contingent
           9740 Hillman Court, Suite 220                                        Unliquidated
           Wilsonville, OR 97070                                                Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor - Precautionary
           Last 4 digits of account number
                                                                             Is the claim subject to offset?        No      Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                      related creditor (if any) listed?               account number, if
                                                                                                                                                      any
 4.1       Davis Galm Law Firm
           c/o Paul C. Galm, Esq                                                                      Line     3.22
           12220 SW First St
                                                                                                             Not listed. Explain
           Beaverton, OR 97005

 4.2       De Lage Landen Financial Services, Inc.
           c/o Corporation Service Company R/A                                                        Line     3.19
           1127 Broadway St. Ste 310
                                                                                                             Not listed. Explain
           Salem, OR 97301

 4.3       Toyota Industries Commercial Finance Inc
           c/o C T Corporation System, RA                                                             Line     3.78
           780 Commercial St SE Ste 100
                                                                                                             Not listed. Explain
           Salem, OR 97301


 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                          Total of claim amounts
 5a. Total claims from Part 1                                                                            5a.          $                     310,140.99
 5b. Total claims from Part 2                                                                            5b.    +     $                   2,040,327.79

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                                 5c.          $                      2,350,468.78




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 Fill in this information to identify the case:

 Debtor name         Fizz & Bubble, LLC

 United States Bankruptcy Court for the:            DISTRICT OF OREGON

 Case number (if known)         19-34092-tmb11
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                         State the name and mailing address for all other parties with
                                                                                    whom the debtor has an executory contract or unexpired
                                                                                    lease

 2.1.        State what the contract or                   Lease of main office
             lease is for and the nature of               located at 27120 SW
             the debtor's interest                        95th Ave, Ste 3280,
                                                          Wilsonville, OR;
                  State the term remaining
                                                                                        Harsch Investment Property
             List the contract number of any                                            1620 SW Taylor, Suite 300
                   government contract                                                  Portland, OR 97205


 2.2.        State what the contract or                   Lease of Hobart A-200
             lease is for and the nature of               Mixer S/N 31-1204-870
             the debtor's interest                        and accessories and
                                                          Hobart A-200 Mixer S/N
                                                          31-1203-712; contract
                                                          dated 8/6/18; $326.51
                                                          per month.
                  State the term remaining                46 months
                                                                                        Hitachi Capital
             List the contract number of any                                            7808 Creekridge Circle Ste 250
                   government contract       N/A                                        Edina, MN 55439


 2.3.        State what the contract or                   Lease of Floor Mixer
             lease is for and the nature of               and Bun Sheet;
             the debtor's interest                        $857.70 per month.

                  State the term remaining
                                                                                        Hitachi Capital
             List the contract number of any                                            7808 Creekridge Circle Ste 250
                   government contract                                                  Edina, MN 55439


 2.4.        State what the contract or                   Contract for
             lease is for and the nature of               Pre-Payment of goods
             the debtor's interest                        in the amount of
                                                          $1,800.000.00; as of
                                                          12/3/19 goods still due
                                                          in the amount of
                                                          $269,948.83.                  Kohl's
                  State the term remaining                                              N56 W17000 Ridgewood Dr.
                                                                                        Menomonee Falls, WI 53051

Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 4
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                                                Case 19-34092-tmb11                  Doc 80      Filed 12/04/19
 Debtor 1 Fizz & Bubble, LLC                                                                    Case number (if known)   19-34092-tmb11
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                         State the name and mailing address for all other parties with
                                                                                    whom the debtor has an executory contract or unexpired
                                                                                    lease

             List the contract number of any
                   government contract


 2.5.        State what the contract or                   Lease of Doosan S/N
             lease is for and the nature of               FBA11239001304 and
             the debtor's interest                        Hannibal Pallet Racking
                                                          (Forklift); contract
                                                          dated 6/2/17; $633.17
                                                          per month.
                  State the term remaining                36 Months                     Lease Direct
                                                                                        De Lage Landen Financial
             List the contract number of any                                            PO Box 41602
                   government contract       N/A                                        Philadelphia, PA 19101


 2.6.        State what the contract or                   Lease of Doosan
             lease is for and the nature of               Material Handling
             the debtor's interest                        Machine (Forklift) S/N
                                                          FBA031350-01623;
                                                          contract dated 2/5/19;
                                                          $417.87 per month
                                                          (includes late fees);
                                                          normal payment is
                                                          $396.66 per month
                  State the term remaining                31 Months                     Lease Direct
                                                                                        De Lage Landen Financial
             List the contract number of any                                            PO Box 41602
                   government contract                                                  Philadelphia, PA 19101


 2.7.        State what the contract or                   Lease of Konica
             lease is for and the nature of               Minolta C754e Copier
             the debtor's interest                        System and Pitney
                                                          Bowes DM125 Mailing
                                                          Machine; contract
                                                          dated 5/4/17; $531.00
                                                          per month plus overage
                                                          fees.
                  State the term remaining                31 months
                                                                                        Pacific Office Automation
             List the contract number of any                                            14747 NW Greenbrier Pkwy
                   government contract       N/A                                        Beaverton, OR 97006


 2.8.        State what the contract or                   Lease of Seal A Tron
             lease is for and the nature of               Shrink Wrap Machine;
             the debtor's interest                        contract dated 6/18/18;
                                                          $2,055.52 per month.
                  State the term remaining                44 months
                                                                                        Pawnee Leasing
             List the contract number of any                                            3801 Automation Way Ste 207
                   government contract       N/A                                        Fort Collins, CO 80525




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                           Page 2 of 4
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                                                Case 19-34092-tmb11                  Doc 80      Filed 12/04/19
 Debtor 1 Fizz & Bubble, LLC                                                                    Case number (if known)   19-34092-tmb11
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                         State the name and mailing address for all other parties with
                                                                                    whom the debtor has an executory contract or unexpired
                                                                                    lease

 2.9.        State what the contract or                   Lease of 2019
             lease is for and the nature of               International Dura Star
             the debtor's interest                        4300 SADC Dryvan
                                                          Morgan Aluminum;
                                                          contract dated
                                                          11/22/17; $1352.40 per
                                                          month plus gas.
                  State the term remaining                30 months
                                                                                        Penske Truck Leasing
             List the contract number of any                                            PO Box 7429
                   government contract       N/A                                        Pasadena, CA 91109-7429


 2.10.       State what the contract or                   Lease of 2018 Subaru
             lease is for and the nature of               Forester Vin # contract
             the debtor's interest                        dated 10/27/17; $296.55
                                                          per month; matures
                                                          10/27/20
                  State the term remaining                12 months
                                                                                        Subaru
             List the contract number of any                                            PO Box 78058
                   government contract                                                  Phoenix, AZ 85062


 2.11.       State what the contract or                   Lease of Toyota Pallet
             lease is for and the nature of               Jack Model 8HBW23
             the debtor's interest                        S/N 31173; contract
                                                          dated 2/19/19; $129.82
                                                          per month.
                  State the term remaining                28 months
                                                                                        Toyota Commercial Finance
             List the contract number of any                                            PO Box 660926
                   government contract       N/A                                        Dallas, TX 75266-0926


 2.12.       State what the contract or                   Lease of 2019 Toyota
             lease is for and the nature of               Tundra Truck Vin
             the debtor's interest                        #7393; contract dated
                                                          3/19/19; $683.39 per
                                                          month.
                  State the term remaining                27 months
                                                                                        Toyota Financial Services
             List the contract number of any                                            PO Box 9490
                   government contract       N/A                                        Cedar Rapids, IA 52409


 2.13.       State what the contract or                   Lease of warehouse
             lease is for and the nature of               located at 10778 SW
             the debtor's interest                        Manhasset Dr, Tualatin,
                                                          OR; Month to Month            Tualatin Industrial Ventures
                  State the term remaining                                              c/o Chad M. Stokes, Esq
                                                                                        Cable Huston LLP
             List the contract number of any                                            1455 SW Broadway, Ste 1500
                   government contract                                                  Portland, OR 97201




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                           Page 3 of 4
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 Debtor 1 Fizz & Bubble, LLC                                                                    Case number (if known)   19-34092-tmb11
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                         State the name and mailing address for all other parties with
                                                                                    whom the debtor has an executory contract or unexpired
                                                                                    lease

 2.14.       State what the contract or                   Lease of Date Coder;
             lease is for and the nature of               contract dated 1/18/18;
             the debtor's interest                        $627.00 per month.

                  State the term remaining                39 months
                                                                                        Video Jet
             List the contract number of any                                            1500 N Mittel Blvd
                   government contract       N/A                                        Wood Dale, IL 60191




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                           Page 4 of 4
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                                                Case 19-34092-tmb11                  Doc 80      Filed 12/04/19
 Debtor       Fizz & Bubble, LLC                                                      Case number (if known)   19-34092-tmb11


            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                          Column 2: Creditor



    2.5      Kimberly Ann                      27120 SW 95th Ave                           WG Fund, LLC                     D   2.11
             Mitchell                          Ste 3280                                                                     E/F
                                               Wilsonville, OR 97070
                                                                                                                            G




Official Form 206H                                                     Schedule H: Your Codebtors                                   Page 2 of 2
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                                                Case 19-34092-tmb11        Doc 80      Filed 12/04/19
 Fill in this information to identify the case:

 Debtor name         Fizz & Bubble, LLC

 United States Bankruptcy Court for the:            DISTRICT OF OREGON

 Case number (if known)         19-34092-tmb11
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                      12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                   Name                            Check all schedules
                                                                                                                                 that apply:

    2.1      Beau Bain                         27120 SW 95th Ave                                 Capital Funding                    D   2.2
                                               Ste 3280                                          ASAP, LLC                          E/F
                                               Wilsonville, OR 97070
                                                                                                                                    G




    2.2      Kimberly Ann                      27120 SW 95th Ave                                 Capital Funding                    D   2.2
             Mitchell                          Ste 3280                                          ASAP, LLC                          E/F
                                               Wilsonville, OR 97070
                                                                                                                                    G




    2.3      Kimberly Ann                      27120 SW 95th Ave                                 Decathlon Alpha III,               D   2.4
             Mitchell                          Ste 3280                                          LP                                 E/F
                                               Wilsonville, OR 97070
                                                                                                                                    G




    2.4      Kimberly Ann                      27120 SW 95th Ave                                 Unique Funding                     D   2.9
             Mitchell                          Ste 3280                                          Solutions, LLC                     E/F
                                               Wilsonville, OR 97070
                                                                                                                                    G




Official Form 206H                                                       Schedule H: Your Codebtors                                           Page 1 of 2
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                                                Case 19-34092-tmb11          Doc 80         Filed 12/04/19
 Fill in this information to identify the case:

 Debtor name         Fizz & Bubble, LLC

 United States Bankruptcy Court for the:            DISTRICT OF OREGON

 Case number (if known)         19-34092-tmb11
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          December 4, 2019                        X /s/ Kimberly Ann Mitchell
                                                                       Signature of individual signing on behalf of debtor

                                                                       Kimberly Ann Mitchell
                                                                       Printed name

                                                                       Sole Member, Chief Creative Officer
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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                                                Case 19-34092-tmb11                       Doc 80            Filed 12/04/19
 Fill in this information to identify the case:

 Debtor name         Fizz & Bubble, LLC

 United States Bankruptcy Court for the:            DISTRICT OF OREGON

 Case number (if known)         19-34092-tmb11
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                         04/19
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)

       From the beginning of the fiscal year to filing date:                                       Operating a business                             $7,611,022.40
       From 1/01/2019 to Filing Date
                                                                                                   Other    Gross Income


       For prior year:                                                                             Operating a business                           $14,009,029.69
       From 1/01/2018 to 12/31/2018
                                                                                                   Other    Gross Income


       For year before that:                                                                       Operating a business                           $14,590,599.14
       From 1/01/2017 to 12/31/2017
                                                                                                   Other    Gross Income

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,825. (This amount may be adjusted on 4/01/22
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None.

       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1
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                                                Case 19-34092-tmb11                     Doc 80          Filed 12/04/19
 Debtor       Fizz & Bubble, LLC                                                                          Case number (if known) 19-34092-tmb11



       Creditor's Name and Address                                          Dates                   Total amount of value        Reasons for payment or transfer
                                                                                                                                 Check all that apply
       3.1.
               Unique Funding Solutions, LLC                                8/1/19 -                         $58,550.58               Secured debt
               Attn: Jordan Jenson                                          10/31/19                                                  Unsecured loan repayments
               2715 Coney Island Ave
                                                                                                                                      Suppliers or vendors
               Brooklyn, NY 11235
                                                                                                                                      Services
                                                                                                                                      Other


       3.2.
               WG Fund, LLC                                                 8/1/19 -                        $176,700.00               Secured debt
               Attn: Jordan Jenson                                          10/31/19                                                  Unsecured loan repayments
               1980 Swarthmore Ave
                                                                                                                                      Suppliers or vendors
               Lakewood, NJ 08701
                                                                                                                                      Services
                                                                                                                                      Other


       3.3.
               Capital Funding ASAP, LLC                                    8/1/19 -                         $85,322.20               Secured debt
               695 Cross Street                                             10/31/19                                                  Unsecured loan repayments
               Lakewood, NJ 08701
                                                                                                                                      Suppliers or vendors
                                                                                                                                      Services
                                                                                                                                      Other



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,825. (This amount
   may be adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

          None.

       Insider's name and address                                           Dates                   Total amount of value        Reasons for payment or transfer
       Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

          None

       Creditor's name and address                               Describe of the Property                                      Date                  Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

          None

       Creditor's name and address                               Description of the action creditor took                       Date action was                 Amount
                                                                                                                               taken
       Lease Direct                                              ACH from bank account                                         12/3/19                          $25.00
       De Lage Landen Financial                                  Last 4 digits of account number:
       PO Box 41602
       Philadelphia, PA 19101

       Lease Direct                                              ACH from bank account                                         12/4/19                        $596.63
       De Lage Landen Financial                                  Last 4 digits of account number:
       PO Box 41602
       Philadelphia, PA 19101

Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                       page 2
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 Debtor       Fizz & Bubble, LLC                                                                        Case number (if known) 19-34092-tmb11



       Creditor's name and address                               Description of the action creditor took                       Date action was                Amount
                                                                                                                               taken
       Hitachi Capital                                           ACH from bank account                                         12/3/19                     $1,438.92
       7808 Creekridge Circle Ste 250                            Last 4 digits of account number:
       Edina, MN 55439

       Hitachi Capital                                           ACH from bank account                                         12/3/19                     $3,638.22
       7808 Creekridge Circle Ste 250                            Last 4 digits of account number:
       Edina, MN 55439

       Lease Direct                                              ACH from bank account                                         11/19/19                      $633.17
       De Lage Landen Financial                                  Last 4 digits of account number:
       PO Box 41602
       Philadelphia, PA 19101

       Lease Direct                                              ACH from bank account                                         11/14/19                        $25.00
       De Lage Landen Financial                                  Last 4 digits of account number:
       PO Box 41602
       Philadelphia, PA 19101


 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

           None.

               Case title                                        Nature of case            Court or agency's name and                Status of case
               Case number                                                                 address
       7.1.    Summit Staffing Solutions,                        Breach of                 Clackamas County Circuit                       Pending
               Inc. v. Fizz & Bubble, LLC,                       Contract                  Court                                          On appeal
               Beau Bain, LLC and Craig                                                    Oregon City, OR 97045
                                                                                                                                          Concluded
               Barnes
               18CV10048

       7.2.    Fizz & Bubble, LLC v.                             Injuntive Relief,         Clackamas County Circuit                       Pending
               Net.Finance LLC, Mark                             Breach of                 Court                                          On appeal
               Garrison and Nancy J. Kinney                      Contract, Tortious        Oregon City, OR 97045
                                                                                                                                          Concluded
               19CV40212                                         Interference,
                                                                 Misappropriation
                                                                 of Trade Secrets

       7.3.    Ernest Packaging Solutions,                       Account & Breach          Clackamas County Circuit                       Pending
               Inc. v. Fizz & Bubble, LLC                        of Contract               Court                                          On appeal
               19CV14976                                                                   Oregon City, OR 97045
                                                                                                                                          Concluded


       7.4.    Beauty Consultants &                              Action on account         Clackamas County Circuit                       Pending
               Strategists, LLC v. Fizz &                                                  Court                                          On appeal
               Bubble LLC                                                                  Oregon City, OR 97045
                                                                                                                                          Concluded
               19CV51533

       7.5.    NOW CFO Portland, LLC v.                          Breach of                 Washington County Circuit                      Pending
               Fizz & Bubble, LLC                                Contract                  Court                                          On appeal
               19-CV20343                                                                  Hillsboro, OR 97123
                                                                                                                                          Concluded




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 Debtor       Fizz & Bubble, LLC                                                                            Case number (if known) 19-34092-tmb11



               Case title                                        Nature of case               Court or agency's name and               Status of case
               Case number                                                                    address
       7.6.    Estes Express Lines v. Fizz &                     Breach of Credit             Richmond City Circuit                       Pending
               Bubble, LLC                                       Application,                 Court                                       On appeal
               760CL18006351-00                                  Pricing                      Civil Division
                                                                                                                                          Concluded
                                                                 Agreement and                400 North 9th St
                                                                 Transportation               Richmond, VA 23219
                                                                 Contracts,
                                                                 Quantum
                                                                 Meruit/Unjust
                                                                 Enrichment


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

           None


 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None

               Recipient's name and address                      Description of the gifts or contributions                Dates given                               Value


 Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None

       Description of the property lost and                      Amount of payments received for the loss                 Dates of loss               Value of property
       how the loss occurred                                                                                                                                       lost
                                                                 If you have received payments to cover the loss, for
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.

                                                                 List unpaid claims on Official Form 106A/B (Schedule
                                                                 A/B: Assets – Real and Personal Property).

 Part 6:      Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.

                Who was paid or who received                         If not money, describe any property transferred           Dates                    Total amount or
                the transfer?                                                                                                                                    value
                Address

12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

           None.

       Name of trust or device                                       Describe any property transferred                  Dates transfers                 Total amount or
                                                                                                                        were made                                value


Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                         page 4
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13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

           None.

               Who received transfer?                            Description of property transferred or                  Date transfer            Total amount or
               Address                                           payments received or debts paid in exchange             was made                          value

 Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


           Does not apply

                Address                                                                                                    Dates of occupancy
                                                                                                                           From-To

 Part 8:      Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.


                Facility name and address                        Nature of the business operation, including type of services            If debtor provides meals
                                                                 the debtor provides                                                     and housing, number of
                                                                                                                                         patients in debtor’s care

 Part 9:      Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?


 Part 10:     Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

           None
               Financial Institution name and                    Last 4 digits of         Type of account or          Date account was               Last balance
               Address                                           account number           instrument                  closed, sold,              before closing or
                                                                                                                      moved, or                           transfer
                                                                                                                      transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.

Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 5
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          None

       Depository institution name and address                       Names of anyone with                 Description of the contents           Do you still
                                                                     access to it                                                               have it?
                                                                     Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


          None

       Facility name and address                                     Names of anyone with                 Description of the contents           Do you still
                                                                     access to it                                                               have it?
       Warehouse                                                     Kimberly Mitchell                    Inventory and WIP - Unit is              No
       20551 SW Wildrose Place                                                                            now empty                                Yes
       Sherwood, OR 97140



 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None


 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Provide details below.

       Case title                                                    Court or agency name and             Nature of the case                    Status of case
       Case number                                                   address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known       Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.


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 Debtor      Fizz & Bubble, LLC                                                                         Case number (if known) 19-34092-tmb11



       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

          None

    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26a.1.       Rudolph, Kim                                                                                                               May 2019 to Current
                    2236 NW Pinnacle Drive
                    Portland, OR 97229
       26a.2.       Wilson, Matthew                                                                                                            Sept 2019 to Current
                    3330 Panorama Drive
                    Redding, CA 96003
       26a.3.       Cori Johnson                                                                                                               June 2018 -
                    c/o Klein Munsinger, LLC                                                                                                   September 2018
                    600 NW Naito Pkwy Ste G
                    Portland, OR 97209
       26a.4.       Trevor Dierickx


       26a.5.       Now CFO                                                                                                                    6/14/17 - September
                    Cori Johnson                                                                                                               2018
                    5251 S Green St Ste 350
                    Salt Lake City, UT 84123
       26a.6.       Net Finance, LLC                                                                                                           Sept 2018-Sept 2019
                    Mark Garrison
                    13429 SW HILLSHIRE DR
                    Portland, OR 97223

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

              None


    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

              None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

              None


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       Name and address
       26d.1.       Decathlon Alpha III, LP
                    Attn: John Borchers
                    1441 West Ute Blvd, Suite 240
                    Park City, UT 84098
       26d.2.       Interstate Credit
                    651 Canyon Dr Ste 105
                    Coppell, TX 75019

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

            No
            Yes. Give the details about the two most recent inventories.

                Name of the person who supervised the taking of the                         Date of inventory        The dollar amount and basis (cost, market,
                inventory                                                                                            or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Kimberly Ann Mitchell                          27120 SW 95th Ave                                   Owner                                 100%
                                                      Ste 3280
                                                      Wilsonville, OR 97070


29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


            No
            Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

            No
            Yes. Identify below.

                Name and address of recipient                    Amount of money or description and value of             Dates              Reason for
                                                                 property                                                                   providing the value
       30.1 Kimberly Ann Mitchell
       .    27120 SW 95th Ave
                Ste 3280                                                                                                 During last 12
                Wilsonville, OR 97070                            $180,000 (estimated)                                    months             Salary

                Relationship to debtor
                Owner


31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation



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32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.

    Name of the pension fund                                                                                   Employer Identification number of the parent
                                                                                                               corporation

 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         December 4, 2019

 /s/ Kimberly Ann Mitchell                                              Kimberly Ann Mitchell
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor         Sole Member, Chief Creative Officer

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




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